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                                                                         3                                    UNITED STATES DISTRICT COURT
                                                                         4                                   NORTHERN DISTRICT OF CALIFORNIA
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                                                                         6    HORACIO HERRERA,                                          No. 3:12-cv-04118 JCS
                                                                         7                   Plaintiff(s),
                                                                                                                                        ORDER TO SHOW CAUSE
                                                                         8           v.
                                                                         9    NEW AMERICAN FUNDING,
                                                                         10               Defendant(s).
                                                                              ___________________________________/
United States District Court




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                               For the Northern District of California




                                                                         12          Pursuant to Civil L.R. 16-2, a case management conference was scheduled on December 7,
                                                                         13   2012, at 1:30 PM, before this Court in the above-entitled case. Plaintiff was not present. Defendant
                                                                         14   was not present.
                                                                         15          IT IS HEREBY ORDERED that Plaintiff appear on December 21, 2012, at 10:30 a.m.,
                                                                         16   before Magistrate Judge Joseph C. Spero, in Courtroom G, 15th Floor, 450 Golden Gate Avenue, San
                                                                         17   Francisco, California, and then and there to show cause why this action should not be dismissed for
                                                                         18   Plaintiff’s failure to appear at the case management conference on December 7, 2012, for failure to
                                                                         19   follow the Court’s Orders, for failure to serve defendant pursuant to Federal Rules of Civil
                                                                         20   Procedure, and for lack of subject matter jurisdiction.
                                                                         21          IT IS SO ORDERED.
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                                                                         23   Dated: December 11, 2012
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                                                                         24                                                         JOSEPH C. SPERO
                                                                                                                                    United States Magistrate Judge
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